Case 2:18-cv-01481-DDP-JEM Document 179-4 Filed 09/16/19 Page 1 of 15 Page ID
                                 #:11570




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    Ironhawk Technologies, Inc.
  8
  9                           UNITED STATES DISTRICT COURT
 10                CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
 11
 12 IRONHAWK TECHNOLOGIES,INC.,                      Case No. 2:18-cv-01481-DDP-JEM
    a Delaware Corporation,                          The Hon. Dean D. Pregerson
 13
                                                     MOTION IN LIMINE NO.4 TO
 14             Plaintiff and                        EXCLUDE EVIDENCE AND
                Counterdefendant,                    ARGUMENT CONCERNING
 15                                                  FABRICATION OF EVIDENCE;
                  vs.                                DECLARATION OF LORI
 16                                                  SAMBOL BRODY IN SUPPORT
    DROPBOX,INC., a Delaware                         THEREOF
 17 corporation,
                                                      Judge:   Hon. Dean D. Pregerson
 18                                                   Date:    October 7, 2019
                 Defendant and                        Time:    10:00 a.m.
 19              Counterclaimant.                     Ctrm:    9C
 20
                                                      Trial Date: October 22, 2019
 21                                                   Final Pre-Trial Conf.: October 7, 2019
 22
 23
 24                          REDACTED VERSION — PROPOSED
 25                               TO BE FILED UNDER SEAL
 26
 27
 28
      1340030.1                                                        Case No. 2:18-cv-01481-DDP-JEM
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                PVTI-YRNICF.• DF.C.T.AR ATTON OF LORI SAMBOL BRODY IN SUPPORT THEREOF
Case 2:18-cv-01481-DDP-JEM Document 179-4 Filed 09/16/19 Page 2 of 15 Page ID
                                 #:11571




   1               PLEASE TAKE NOTICE that, on October 7, 2019 at 10:00 a.m., or as soon
  2 thereafter as it may be heard, in Courtroom 9C of the above-titled Court, located at
  3 350 West 1st Street, Los Angeles, California 90012,the Honorable Dean D.
  4 Pregerson presiding, plaintiff and counterdefendant Ironhawk Technologies, Inc.
  5 ("Ironhawk") will, and hereby does, brings this Motion in Limine No. 4 to exclude
  6 evidence and argument concerning fabrication of evidence (the "Motion").
  7                This Motion will be made pursuant to Rules 401, 402, and 403 ofthe Federal
  8 Rules of Evidence. The Motion is based on the following grounds:
  9                •     Evidence of a false narrative offabrication of evidence, including the
  10                     purported fabrication of evidence in April 2017 emails, is irrelevant to
  11                     Ironhawk's claims. Nor will Ironhawk introduce the April 2017 emails
  12                     at trial.
  13               •     Evidence of the purported fabrication of evidence is irrelevant to
  14                     Dropbox's defense of unclean hands. It is well-established that, in a
  15                     trademark case, the conduct contended to be "unclean" must relate to
  16                     the subject matter of plaintiff's claims, e.g., relating to the attaining or
  17                     using the trademark at issue — and the allegedly unfair or improper
  18                    filing ofa trademark infringement lawsuit cannot itselfconstitute a
  19                     basisfor the defense.
  20               •     Even if the evidence were in any way probative (it is not), such
  21                     probative value in introducing evidence and testimony to create a false
  22                     narrative would be outweighed by a danger of undue prejudice,
  23                     confusing the issues, misleading the jury, and wasting time.
  24               The Motion is based on this Notice of Motion, the Memorandum of Points
  25 and Authorities, the declaration of Lori Sambol Brody, and the exhibits thereto, all
  26 documents filed in this case, and any other evidence and argument the Court may
  27 consider.
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Case 2:18-cv-01481-DDP-JEM Document 179-4 Filed 09/16/19 Page 3 of 15 Page ID
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   1               The Motion is made following a L.R. 7-3 conference of counsel that occurred
  2 on September 9, 2019.
  3
  4 Dated: September 16, 2019                     BROWNE GEORGE ROSS LLP
  5                                                  Keith J. Wesley
                                                     Lori Sambol Brody
  6                                                  Matthew L. Venezia
  7
                                                  By:       /s/Lori Sambol Brody
  8                                                         Lori Sambol Brody
  9                                               Attorneys for Plaintiff and Counterdefendant
                                                  Ironhawk Technologies, Inc.
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Case 2:18-cv-01481-DDP-JEM Document 179-4 Filed 09/16/19 Page 4 of 15 Page ID
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   1                     MEMORANDUM OF POINTS AND AUTHORITIES
  2 I.             INTRODUCTION
  3                PlaintiffIronhawk Technologies, Inc.("Ironhawk"), a small technology
  4 company, obtained a registration for the mark SmartSync® in 2007 for use in
   5 computer software. But in late 2016 and early 2017, Defendant Dropbox,Inc.
  6 ("Dropbox"), knowing ofIronhawk's registration and prior use of the trademark,
  7 decided, with all the hubris of a large company used to getting its way, to cavalierly
   8 use the name Smart Sync for its own software product. When Ironhawk discovered
  9 that Dropbox was using Smart Sync, it obtained emails from business partners
  10 wherein the partners discussed their concerns about another company using
  1 1 Ironhawk's trademark.
  12               Despite Dropbox's using an almost identical name and its knowing
  13 infringement ofIronhawk's trademark, Dropbox has contended that it — not
  14 Ironhawk — is the victim here. Dropbox has made it clear that it intends to argue,
  15 elicit testimony, and introduce evidence at trial that supports a false narrative that
  16 Ironhawk "fabricated" evidence of actual confusion by "ghostwriting" the emails for
  17 its business partners.
  18               Dropbox attempts to introduce this irrelevant and inadmissible evidence,
  19 testimony, and argument only to bias the jury against Ironhawk and prejudice
  20 Ironhawk's claims. Such evidence, testimony, and argument should be excluded
  21 under Rules 401, 402, and 403 of the Federal Rules of Evidence:
  22               •     Evidence of a false narrative offabrication of evidence, including the
  23                     purported fabrication of evidence in April 2017 emails, is irrelevant to
  24                     Ironhawk's claims. Nor will Ironhawk introduce the April 2017 emails
  25                     at trial.
  26                •    Evidence of the purported fabrication of evidence is irrelevant to
  27                     Dropbox's defense of unclean hands. It is well-established that, in a
  28                     trademark case, the conduct contended to be "unclean" must relate to
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Case 2:18-cv-01481-DDP-JEM Document 179-4 Filed 09/16/19 Page 5 of 15 Page ID
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   1               the subject matter of plaintiff's claims, e.g., relating to the attaining or
  2                using the trademark at issue — and the allegedly unfair or improper
  3               filing ofa trademark infringement lawsuit cannot itselfconstitute a
  4                basisfor the defense.
   5         •     Even if the evidence were in any way probative (it is not), such
  6                probative value in introducing evidence and testimony to create a false
   7               narrative would be outweighed by a danger of undue prejudice,
   8               confusing the issues, misleading the jury, and wasting time.
  9         Ironhawk respectfully requests that this Court grant this motion in limine.
  10 II.    STATEMENT OF FACTS
  11        In or around April 2017, David Peyton, an employee at IBM,one of
  12 Ironhawk's partners, had a telephone conversation with David Gomes,the President
  13 ofIronhawk. During this conversation, Mr. Peyton told Mr. Gomes that he had
  14 heard that Dropbox had a product called Smart Sync and he believed that it was a
  15 threat to their joint sales. Declaration of Lori Sambol Brody("Brody Decl.") Ex. A
  16 (Peyton Salesforce Depo.) at 11:2-16; 114:5-116:15; Ex. B (Ironhawk 30(b)(6)
  17 Depo.) at 381:2-383:4; Ex. C (Peyton Depo.) at 196:12-197:25. Mr. Gomes asked
  18 Mr. Peyton to memorialize his concerns about other's use of the Ironhawk's
  19 trademark. Id. at Ex. A (Peyton Salesforce Depo.) at 12:5-13:24; 132:7-133:9;
  20 156:20-24; Ex. B (Ironhawk 30(b)(6) Depo.) at 381:2-383:4; Ex. C(Peyton Depo.)
  21 at 197:1-25. Since Mr. Peyton was busy, he told Mr. Gomes that he did not have
  22 time to memorialize the conversation and asked him to "ghostwrite" an email that he
  23 could send back to him, a request that Mr. Gomes agreed to. Id. at Ex. C(Peyton
  24 Depo.) at 197:10-14; Ex. A (Peyton Salesforce Depo.) at 219:16-22.
  25         On April 26, 2017, Mr. Gomes sent Mr. Peyton a draft email titled "DRAFT
  26 Ghost Written Letter" that summarized Mr. Peyton's concerns. See Brody Decl. Ex.
  27 D. Mr. Peyton reviewed the email, added infoiiiiation that he felt was relevant, and
  28 then sent a revised version back to Mr. Gomes. Id. at Ex. A (Peyton Salesforce
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   1   Depo.) at 13:2-4; Ex. E. He took "a lot oftime to vet what he had wrote to ensure
  2 that it was not conflicting with the truth." Id. at Ex. A (Peyton Salesforce Depo.) at
  3 132: 24-133:3.
  4                Another partner representative, Susan Indermill, of CACI, also broached her
   5 concerns about other entities using the same name as Ironhawk in a telephone call
  6 with Mr. Gomes. Brody Decl. Ex. F (Indermill Depo.) at 75:2-78:4, 100:13-101:11,
   7 She too asked Mr Gomes to draft a summary of the concerns she expressed in the
   8 phone call. Id. at 95:7-10; 100:13-101:11. Mr. Gomes sent her a draft of an email.
  9 Id. at 100:13-101:11, Ex. G. She testified at deposition that she agreed with
  10 everything in the email, and that the email reflected what she told him. Id. at Ex. F
  1 1 at 98:12-16; 101:22-102:18, 131:1-3. She sent him back the email. Id. at 102:19-
  12 103:6; Ex. H.
  13               Mr. Gomes also asked another partner representative, Doug Stanley, to
  14 memorialize similar concerns. Brody Decl. Ex. B (Ironhawk 30(b)(6) Depo.) at
  15 381:5-384:4; 376:6-377:3. He drafted an email for Mr. Stanley; Mr. Stanley
  16 reviewed the email and sent a version back. See id. at Exs I-J.
  17               Mr. Gomes then forwarded the three emails from Mr. Peyton, Ms. Indermill,
  18 and Mr. Stanley to Rupinder Gill, Ironhawk's chief oftechnology (together all of
  19 these emails are referred to herein as the April 2017 Emails" or the "Emails"). See
 20 id. at Ex. K.
  21 III.          EVIDENCE AND ARGUMENT TO BE EXCLUDED
  22               During the pendency of this action, Dropbox has claimed a false narrative that
  23 all of the evidence of confusion that Ironhawk has submitted is fabricated, including
  24 the April 2017 Emails. In its motion for summary judgment, Dropbox argued:
  25               •     "Ironhawk .. even fabricated documentation of confusion where none
  26                     exists." Dld. 91-1 at 7.
  27               •     "Ironhawk has fabricated evidence in an attempt to demonstrate actual
  28                     confusion. Ironhawk points to three emails to show that Ironhawk's
       1340030.1                                                       Case No. 2:18-cv-01481-DDP-JEM
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   1                      purported customers were confused by Dropbox's use ofthe term
  2                       Smart Sync. But discovery has revealed that these allegations are
  3                       demonstrably false. The emails were ghost-written by Ironhawk's
  4                       CEO,David Gomes, who provided draft emails to the alleged
  5                       customers for them to send back to him." Dkt. 91-1 at 7, 12.
  6                 Dropbox also claims that this purported fabrication of evidence supports
  7 Dropbox's unclean hands defense:
  8                       Ironhawk has acted with unclean hands in ghostwriting multiple
  9                       emails that it then claims evidence confusion, in falsely
  10                      asserting that there are customers ofIronhawk who have
  11                      experienced confusion when there are not, and in filing multiple
  12                      lawsuits relying on this fake evidence of"confusion."
  13 Brody Decl. Ex. L(Rog responses) at 5.
  14                Ironhawk, by this motion in limine, thus seeks to preclude any testimony,
  15 evidence, or argument that supports a false narrative that the April 2017 Emails are
  16 fabricated or falsified. The following April 2017 Emails are subject to this motion:
  17                •     The April 27, 2017 email from Mr. Gomes to Ms. Indermill: Exhibits
  18                      161 (CACI-000002), 350(IRONHAWK-D_000035112),731
  19                     (IRONHAWK-D_000046241);see Brody Decl. Ex. G;
 20                 •     The April 27, 2017 email from Ms.Indermill to Mr. Gomes: Exhibits
 21                       160(CACI-000001), 176(CACI-000517/IRONHAWK-
 22                       D_000052094), 651 (IRONHAWK-D_000035122), 1033
 23                      (IRONHAWK-D_000046247);see Brody Decl. Ex. H;
 24                 •     The April 26, 2017 email from Mr. Gomes to Mr. Peyton: Exhibits 349
 25                      (IRONHAWK-D 00035111), 477(IRONHAWK-D 000035111),482
  26                     (IRONHAWK-D 000040008 / IRONHAWK-D 000052139); see
  27                      Brody Decl. Ex. D;
  28                •     The April 27, 2017 email from Mr. Peyton to Mr. Gomes: Exhibits 478
       1 340030.1
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Case 2:18-cv-01481-DDP-JEM Document 179-4 Filed 09/16/19 Page 8 of 15 Page ID
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   1              (IRONHAWK-D_000035123-000035124),481(IRONHAWK-
   2              D_000017577-000017578 / IRONHAWK-D 000052137-000052138),
   3               1035(IRONHAWK-D_000049630); see Brody Decl. Ex. E;
   4        •      The April 26, 2017 email from Mr. Gomes to Mr. Stanley: Exhibit 348
   5             (IRONHAWK-D_000035110);see Brody Decl. Ex. I;
   6        •      The April 26, 2017 email from Mr. Stanley to Mr. Gomes: Exhibits
   7               539(Stanley Ex. 25), 834(IRONHAWK-D_000035121), 1033
   8              (IRONHAWK-D_000046246);see Brody Decl. Ex. J; and
   9        •      April 26 and 27, 2017 emails from Mr. Gomes to Mr. Gill, forwarding
  10               the above emails: Exhibits 363-365(IRONHAWK-D_000035113-
  11               000035114,IRONHAWK-D_000035119-000035120,IRONHAWK-
  12               D 000035117-000035118), 1453(IRONHAWK-D 000046256); see
  13               Brody Decl. Ex. K.
  14 IV.    ARGUMENT
  15        A.     The Court May Exclude Argument and Evidence as to Ironhawk's
  16               Purported Fabrication of Evidence.
  17        "Although the Federal Rules of Evidence do not explicitly authorize a motion
  18 in limine, the Supreme Court has held that trial judges are authorized to rule on
  19 motions in limine pursuant to their authority to manage trials." Copper Sands
  20 Homeowners Ass'n, Inc. v. Copper Sands Realty, LLC, 2012 WL 960459, *1 (D.
  21 Nev. Mar. 21, 2012), citing Luce v. United States, 469 U.S. 38, 41 n. 4(1984).
  22        "The purpose of a motion in limine is to ask the court to rule on evidentiary
  23 issues in advance of trial . . .." Dae Kon Kwon v. Costco Wholesale Corp., 2010
  24 WL 571941,*3(11 Haw. Feb. 17, 2010)citing Bradley v. Pittsburgh Bd. ofEduc.,
  25 913 F. 2d 1064, 1069(3d Cir. 1990); Lee v. City ofColumbus, Ohio, 2010 WL
  26 333665, *1 (S.D. Ohio Jan. 21, 2010). "This serves to avoid the futile attempt of
  27 `unring[ing] the bell' when jurors have seen or heard inadmissible evidence, even
  28 when stricken from the record." Crane-McNab v. County ofMerced, 2011 WL
     1340030.1                                              Case No. 2:18-cv-01481-DDP-JEM
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Case 2:18-cv-01481-DDP-JEM Document 179-4 Filed 09/16/19 Page 9 of 15 Page ID
                                 #:11578




   1 94424(E.D. Cal. Jan. 11, 2011)citing Brodit v. Cambra, 350 F. 3d 985, 1004-05
   2 (9th Cir. 2003).
   3        "Motions in limine may also serve to save time by ruling on evidentiary
   4 disputes in advance, minimizing side-bar conferences and other disruptions at trial
   5 and potentially obviating the need to call certain witnesses." Id., citing United
  6 States v. Tokash, 282 F. 3d 962,968 (7th Cir. 2002). The Court is not limited to
   7 prohibiting the introduction of certain documents or information into evidence but
   8 may also prohibit any mention of the excluded evidence in opening statements,
   9 during trial, or in argument to the jury. Benedi v. McNeal-P.P.C., Inc., 66 F. 3d
  10 1378, 1384 (4th Cir. 1995).
  11        B.     Argument and Evidence of Ironhawk's Purported Fabrication of
  12               Evidence Is Irrelevant.
  13        Evidence is only relevant if it has a tendency to make a fact of consequence
  14 more or less probable.      FED.R.EvID. 401.   Irrelevant evidence is inadmissible. FED.
  15 R. EVID. 402. Here, no evidence concerning the fabrication of evidence — i.e., the
  16 April 2017 Emails — is relevant to any fact of consequence in support ofIronhawk's
  17 presentation of its case or to Dropbox's defenses.
  18         First, the false narrative that Dropbox intends to argue is simply not relevant.
  19 False characterizations of facts cannot have "a tendency to make a fact of
  20 consequence more or less probable."
  21         Second,Ironhawk does not intend to introduce into evidence the April 2017
  22 Emails or elicit any testimony concerning the Emails, i.e., that the Emails are
  23 evidence of actual confusion. Brody Decl. ¶ 14. Therefore, Dropbox has no need to
  24 introduce any evidence or seek testimony that implies that the Emails were
  25 ghostwritten or fabricated. To be sure, Ironhawk intends to introduce testimony of
  26 Mr. Peyton and Ms. Indermill to support its case in chief and to show likelihood of
  27 confusion between Ironhawk's SmartSync® and Dropbox's Smart Sync, but the
  28 testimony will not rely on the text ofthe April 2017 Emails.
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Case 2:18-cv-01481-DDP-JEM Document 179-4 Filed 09/16/19 Page 10 of 15 Page ID
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   1        Third, while Dropbox has indicated that evidence concerning fabrication of
   2 evidence supports its unclean hands defense, such evidence simply is not relevant to
   3 that defense.
   4        To establish an unclean hands defense, a defendant must show that
   5 "plaintiff's conduct is inequitable and that the conduct relates to the subject matter
   6 of its claims." Japan Telecom, Inc. v. Japan Telecom Am. Inc., 287 F.3d 866, 870
   7 (9th Cir. 2002); Fuddruckers, Inc. v. Doc's B.R. Others, Inc., 826 F.2d 837, 847. In
   8 other words,to relate to the subject matter of plaintiff's claims, the allegedly
   9 "unclean hands" conduct must "relate to the getting or using the alleged trademark
  10 rights." Monster Energy Co. v. Thunder Beast LLC,2018 WL 6431010, at *3(C.D.
  1 1 Cal. Oct. 22, 2018); J. Thomas McCarthy,6 McCarthy on Trademarks and Unfair
  12 Competition ("McCarthy")§ 31:51 (5th ed. 2016). For example,"unclean hands"
  13 may arise where plaintiff has fraudulently obtained a trademark or where plaintiff
  14 has used the trademark to deceive customers — conduct which Dropbox does not
  15 allege here. Amusement Art, LLC v. Life is Beautiful, LLC, 2016 WL 6998566, at *4
  16 (C.D.Cal. Nov. 29, 2016), aff'd 768 Fed. App'x 683(9th Cir. 2019); Blue Mako
  17 Incorporated v. Minidis, 2008 WL 11334205, at *11 (C.D. Cal. June 23, 2008).
  18         Dropbox's fabrication of evidence theory, however, does not "relate to the
  19 getting or using the alleged trademark rights" that are the subject of the action.
  20 Instead, Dropbox contends that Ironhawk improperly and in bad faith brought this
  21 lawsuit based on purported false evidence. It is well-established, however, that the
  22 allegedly unfair or improper filing of a trademark infringement lawsuit cannot itself
  23 constitute a basis for an unclean hands defense to that lawsuit. Monster Energy,
  24 2018 WL 6431010, at *3 (striking unclean hands defense where it was solely
  25 premised on plaintiff's filing ofthe action.); Adidas Am., Inc. v. TRB Acquisitions
  26 LLC,2017 WL 337983, at *8(D. Or. Jan. 23, 2017)(holding that unclean hands
  27 defense fails as a matter oflaw since plaintiff's misrepresentations to the court as to
  28 the trademark rights they owned were "related to Plaintiff's enforcement of its
     1340030.1                                                   Case No. 2:18-cv-01481-DDP-JEM
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Case 2:18-cv-01481-DDP-JEM Document 179-4 Filed 09/16/19 Page 11 of 15 Page ID
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   1 trademark and thus are unrelated to 'getting or using' that trademark,"); Coach Inc.
   2 v. Kmart Corporations, 756 F.Supp.2d 421, 429-30(S.D.N.Y. 2010)(striking
   3 unclean hands defense where it was based on plaintiff's bringing a lawsuit knowing
   4 that the goods were not counterfeit); Yurman Design, Inc. v. Golden Treasure
   5 Imports, Inc., 275 F.Supp.2d 506, 518, recon. denied 218 F.R.D. 396(S.D.N.Y.
   6 2003)(holding that plaintiff's alleged bad faith in bringing "frivolous and
       unfounded" trade dress infringement claims could not be the basis of an unclean
   8 hands defense to those claims); McCarthy,§ 31:51 (5th ed. 2016).
   9         Here, Monster, Adidas, and the additional authority cited above are
  10 controlling, and Dropbox cannot demonstrate that Ironhawk's purported fabrication
  1 1 of evidence supports its unclean hands defense. Therefore, any evidence or
  12 argument of improper intent should be excluded as inadmissible and irrelevant.
  13         C.    Any Probative Value of Purported Fabricated Evidence Is
  14               Outweighed by A Danger of Unfair Prejudice, Confusing the
  15               Issues, and Misleading the Jury and Thus Must Be Excluded.
  16         Assuming, arguendo, that argument or evidence of purported fabricated
  17 evidence is in any way probative (it is not), it may be excluded if its "probative
  18 value is substantially outweighed by a danger of. .. unfair prejudice, confusing the
  19 issues, misleading the jury, undue delay, wasting time, or needlessly presenting
  20 cumulative evidence." FED. R.EVID. 403. Evidence is "unfairly prejudicial" if it
  21 makes a finding of liability more likely because it provokes an emotional response
  22 in the jury or otherwise tends to affect adversely the jury's attitude toward the party
  23 apart from its judgment as to the party's liability. See United States v. Johnson, 820
  24 F. 2d 1065, 1069(9th Cir. 1987). Unfair prejudice is measured "by the degree to
  25 which a jury responds negatively to some aspect ofthe evidence unrelated to its
  26 tendency to make a fact in issue more or less probable[.]" Id.
  27         Here, introduction of such evidence would be in furtherance of a false
  28 narrative, and thus would be unduly prejudicial and mislead the jury. The evidence
     1340030.1                                                 Case No. 2:18-cv-01481-DDP-JEM
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       MOTION IN LIMINE NO.4 TO EXCLUDE EVIDENCE AND ARGUMENT CONCERNING FABRICATION OF
Case 2:18-cv-01481-DDP-JEM Document 179-4 Filed 09/16/19 Page 12 of 15 Page ID
                                 #:11581




   1   demonstrates, as shown supra, that two ofIronhawk's partners, Mr. Peyton and Ms.
   2 Indermill, informed Mr. Gomes oftheir concerns about other companies using
   3 Ironhawk's trademark SmartSync® and asked Mr. Gomes to draft an email for them
   4 summarizing these concerns. That Mr. Gomes wrote drafts ofthe emails or called
   5 his email to Mr. Peyton "Ghost Written Letter" does not mean that Mr. Gomes
   6 fabricated evidence — indeed, Mr. Peyton vetted the document for truthfulness and
   7 revised the document and Ms. Indermill testified that she agreed with everything in
   8 the email.
   9               Therefore, should Dropbox be permitted to argue that the April 2017 Emails
  10 were fabricated, contrary to the facts, the evidence may adversely affect the jury's
  1 1 view of Mr. Gomes, leading to bias against Mr. Gomes and Ironhawk. This
  12 evidence would also mislead the members ofthe jury, who may ignore the facts and
  13 focus on Dropbox's erroneous characterization ofthe evidence as falsified.
  14               Lastly, presentation of such evidence would waste time at trial, leading to a
  15 mini-trial wherein the witnesses would be required to testify as to how and why the
  16 April 2017 Emails were drafted, including each statement in the Emails, and that
  17 Mr. Stanley and Ms. Indennill agreed with the substance ofthe Emails. Such
  18 testimony would be tangential to the issues at trial, and may make the jury believe
  19 that these Emails have more probative value than they do.
  20               Thus, any evidence of purported fabrication of evidence, and the April 2017
  21 Emails themselves, should be precluded under Rule 403.
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       1340030.1
                                                     -9-       Case No. 2:18-cv-01481-DDP-JEM
       MOTION IN LIMINE NO.4 TO EXCLUDE EVIDENCE AND ARGUMENT CONCERNING FABRICATION OF
Case 2:18-cv-01481-DDP-JEM Document 179-4 Filed 09/16/19 Page 13 of 15 Page ID
                                 #:11582




   1 V.            CONCLUSION
   2               For the foregoing reasons, Ironhawk respectfully requests that this Court grant
   3 this motion in limine and preclude Dropbox from introducing any evidence or
   4 making any argument concerning a false narrative that Ironhawk has fabricated
   5 evidence.
   6
   7 Dated: September 16, 2019                  BROWNE GEORGE ROSS LLP
                                                   Keith J. Wesley
   8
                                                   Lori Sambol Brody
   9                                               Matthew L. Venezia
  10
                                                By:       /s/Lori Sambol Brody
  11                                                      Lori Sambol Brody
  12                                            Attorneys for Plaintiff and Counterdefendant
                                                Ironhawk Technologies, Inc.
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       1340030.1                                               Case No, 2:18-cv-01481-DDP-JEM
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       MOTION IN LIMINE NO,4 TO EXCLUDE EVIDENCE AND ARGUMENT CONCERNING FABRICATION OF
Case 2:18-cv-01481-DDP-JEM Document 179-4 Filed 09/16/19 Page 14 of 15 Page ID
                                 #:11583




   1                         DECLARATION OF LORI SAMBOL BRODY
   2               I, Lori Sambol Brody, declare and state as follows:
   3               1.    I am an attorney at law, duly admitted to practice before this Court and
   4 all courts ofthe State of California. I am an attorney with Browne George
   5 Ross LLP, counsel of record for Plaintiff and Counterdefendant Ironhawk
  6 Technologies, Inc. in this matter. I have firsthand, personal knowledge of the facts
   7 set forth below and if called as a witness could competently testify thereto.
   8               2.    True and correct copies of relevant pages from the Sept. 7, 2018
   9 deposition of David Peyton in the action Ironhawk Technologies, Inc. v.
  10 Salesforce.com, Inc., U.S. District Court for the Central District of California, Case
  1 1 No. 2:17-cv-08277 are attached hereto as Exhibit A.
  12               3.    True and correct copies of relevant pages from the March 21, 2019
  13 deposition of Ironhawk's Rule 30(b)(6) designee are attached hereto as Exhibit B.
  14               4.    True and correct copies of relevant pages from the June 11, 2019
  15 deposition of David Peyton are attached hereto as Exhibit C.
  16               5.    A true and correct copy of an April 26, 2017 email from David Gomes
  17 to David Peyton(IRONHAWK-D_00035111), which has been marked as Trial
  18 Exhibit 349, is attached hereto as Exhibit D.
  19               6.    A true and correct copy of an April 27, 2017 email from Mr. Peyton to
  20 Mr. Gomes(IRONHAWK-D_000035123-000035124), which has been marked as
  21 Trial Exhibit 478, is attached hereto as Exhibit E.
  22               7.    True and correct copies of relevant pages from the April 4, 2019
  23 deposition of Susan Indermill are attached hereto as Exhibit F.
  24               8.    A true and correct copy of an April 27, 2017 email from Mr. Gomes to
  25 Susan Indermill(CACI-000002), which has been marked as Trial Exhibit 161 is
  26 attached hereto as Exhibit G.
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       1340030.1                                     -1-       Case No. 2:18-cv-01481-DDP-JEM
       MOTION IN LIMINE NO.4 TO EXCLUDE EVIDENCE AND ARGUMENT CONCERNING    FABRICATION OF
Case 2:18-cv-01481-DDP-JEM Document 179-4 Filed 09/16/19 Page 15 of 15 Page ID
                                 #:11584



   1               9.     A true and correct copy of an April 27, 2017 email from Ms. Indermill
   2 to Mr. Gomes(CACI-000001), which has been marked as Trial Exhibit 160, is
   3 attached hereto as Exhibit H.
   4               10.    A true and correct copy of an April 26, 2017 email from Mr. Gomes to
   5 Douglas Stanley(IRONHAWK-D_000035110), which has been marked as Trial
   6 Exhibit 348, is attached hereto as Exhibit I.
   7               1 1.   A true and correct copy of an April 26, 2017 email from Mr. Stanley to
   8   Mr. Gomes(Stanley Depo. Ex. 25), which has been marked as Trial Exhibit 539, is
   9 attached hereto as Exhibit J.
  10               12.    A true and correct copy of an April 26, 2017 email from Mr. Gomes to
  1 1 Rupinder Gill(IRONHAWK-D_000035113), which has been marked as Trial
  12 Exhibit 363, is attached hereto as Exhibit K.
  13               13.    A true and correct copy of relevant pages from Dropbox's Second
  14 Amended Responses and Objections to Plaintiff's First Set ofInterrogatories, dated
  15 March 25, 2019, are attached hereto as Exhibit L.
  16               14.    At trial, Ironhawk does not intend to introduce into evidence the April
  17 2017 Emails or elicit any testimony concerning the Emails, i.e., that the Emails are
  18 evidence of actual confusion.
  19               Executed this 16th day of September 2019, at Los Angeles, California.
  20               I declare under penalty of perjury under the laws of the United States of
  21 America that the foregoing is true and correct.
  22
  23                                                   /s/Lori Sambol Brody
                                                       Lori Sambol Brody
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       1340030.1                                               Case Na. 2:18-cv-01481-DDP-JEM
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       MOTION IN LIMINE NO,4 TO EXCLUDE EVIDENCE AND ARGUMENT CONCERNING FABRICATION OF
                 EVIDENCE;DECLARATION OF LORI SAMBOL BRODY IN SUPPORT THEREOF
